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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                            )
HON. BENNIE G. THOMPSON, in his             )
personal capacity,                          )
2466 Rayburn House Office Building          )
U.S. House of Representatives               )
Washington, DC 20515                        ) Civil Action No. 1:21-CV-00400-APM
                                            )
Plaintiff,                                  )
                                            )
v.                                          )
                                            )
DONALD J. TRUMP, solely in his personal )
capacity                                    )
Mar-A-Lago                                  )
1100 S. Ocean Blvd.                         )
Palm Beach, Florida 33480-5004,             )
                                            )
RUDOLPH W. GIULIANI,                        )
Rudolph W Giuliani, PLLC                    )
445 Park Ave FL 18                          )
New York, NY 10022-2606                     )
                                            )
PROUD BOYS INTERNATIONAL, L.L.C., )
c/o Jason L. Van Dyke                       )
108 Durango Dr., Crossroads, TX, 76227, and )
                                            )
OATH KEEPERS,                               )
Attn: Stewart Rhodes                        )
1030 E. Hwy 377                             )
Ste 110-285                                 )
Granbury, TX 76048                          )
4625 West Nevso Drive, Suite 2 & 3          )
Las Vegas, NV, 89103                        )
                                            )
Defendants.                                 )


                                      ORDER
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          This matter is before the Court on Plaintiff’s Motion for Leave to File an Amended

Complaint. For the reasons stated in the Motion and for good cause shown, it is this ____ day of

April 2021 hereby

        ORDERED that the Motion for Leave to File an Amended Complaint is GRANTED, and

it is further

        ORDERED that the Amended Complaint appended to the Plaintiff’s Motion be filed, and

it is further

        ORDERED that Defendants shall have until May 26, 2021 to answer or otherwise

respond to the Amended Complaint.



Dated: __________________                                  _________________________
                                                           Hon. Amit P. Mehta
                                                           United States District Judge




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